 Case 20-30208          Doc 25        Filed 03/14/20 Entered 03/14/20 12:10:22                                 Desc Main
                                       Document     Page 1 of 16




826 (Official Form 26) (12/08)

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                       --.---=~..:....:::::..:....:..~_ _   District of ....:-;::=.;....~'----'-';:.....:

In re ~c-\ilN l",~,J"'H:b" ,                                        Case No.               '2.0 ...
                                                                                    --------~~~--
     cl.l"..rnHA-     K~NeD't
                 Debtor                                             Chapter 11

PERIODIC REPORT REGARDING VALUE, OPERATIONS AND PROFITABILITY OF
         ENTITIES IN WHICH THE ESTATE OF [NAME OF DEBTOR}


        This is the report as                    the value, operations and profitability of those
entities in which     estate holds a substantial or controlling interest, as required by Bankruptcy
Rule 201       The estate of [Name of Debtor] holds a substantial or controlling             in the
following entities:

 Name of Entity                         Interest of the Estate                            Tab #
                                                                                               I



This periodic report (the "Periodic Report") contains separate reports ("Entity Reports") on
value, operations, and profitability of each entity listed above.

                      Report shall consist of three exhibits. Exhibit A contains a valuation estimate
for the entity as of a date not more than two years prior to the date of this report. It also contains
a description ofthe valuation method used.              B contains a balance sheet, a statement of
income (loss), a statement of cash flows, and a statement of changes in shareholders' or partners'
equity (deficit) for the period covered by       Entity Report, along with summarized footnotes.
Exhibit C contains a description of the entity's business operations.


 REPORT MUST BE SIGNED                     A REPRESENTATIVE                                                 OR DEBTOR IN
                                            POSSESSION.

The               having reviewed the above listing of entities in which the estate of [Debtor]
holds a substantial or controlling interest, and being familiar with the Debtor's financial affairs,
        under the penalty of perjury that the listing is complete, accurate and truthful to the best
of hislher knowledge.
 Case 20-30208         Doc 25     Filed 03/14/20 Entered 03/14/20 12:10:22          Desc Main
                                   Document     Page 2 of 16




B26 (Official Fonn 26) (12/08) - Cont.                                                      2

       3.)3.1. 0 20

                                               Signature of Authorized Individual


                                               Name of Authorized Individual


                                                      of Authorized Individual


[If the Debtor is an individual or in a joint case]
Case 20-30208   Doc 25   Filed 03/14/20 Entered 03/14/20 12:10:22   Desc Main
                          Document     Page 3 of 16




      TAB 1, RAMSEY-PEELE CORPORATION
   Case 20-30208        Doc 25     Filed 03/14/20 Entered 03/14/20 12:10:22              Desc Main
                                    Document     Page 4 of 16



                                   Valuation Estimate

                             Ramsey-Peele Corporation


Ramsey-Peele Corp. has a negative shareholders equity balance, suggesting a valuation of $0.
Independent operators of daycare businesses have been challenged by national and regional chains that
have made it very hard to compete. As a result, other independent daycare operations have been
selling for an amount approximately equal to the value of the real estate (any owned facilities). Based
on the comparable sales method, Ramsey-Peele Corp. has a valuation of not more than $50,000.
      Case 20-30208                Doc 25    Filed 03/14/20 Entered 03/14/20 12:10:22                  Desc Main
                                              Document     Page 5 of 16



                                 Ramsey-Peele Corporation
                                     Balance Sheet
                                       As of December 31,2019

                                                                              Total
ASSETS
 Current Assets·
  Total Bank Accounts                                        $                         149,896.09
   Other Current Assets
    1255 Due from/Ito) Affiliates                                                       64,039.70
 Total Current Assets                                        $                         213,935.79
 Tota.1Fixed Assets                                          $                          77,417.37
 Other Assets
   Security Deposits                                                                     19,415.00
TOTAL ASSETS                                                 $                         310,768.16

LIABILITIES AND EQUITY
 Liabilities
   Current Liabilities
     Accounts Payable                                        $                          101,748.81
     Credit Cards                                             $                          11,529.73
     Other Current Liabilities
       2152 Due-tol(from)-C. Ray Kennedy                                                      0.00
       Other Current Liabilities                                                         85,527.48
     Total Other Current liabilities                          $                          85,527.48
   Total Current Liabilities                                  $                         198,806.02
   Long-Term Liabilities
     2130 Notes Payable - Daimler Truck                                                  41,488.37
     Notes Payable                                                                       97,514.97
     Notes Payable - C.Ray & Cynthia Kennedy                                          1,550,749.19
     Notes Payable - Cynthia Kennedy                                                     51,347.16
     Notes Payable - Kim Griffith                                                       390,811 .57
     Notes Payable - Lending Club                                                        76,664.72
   Total Long-Term Liabilities                                $                       2,208,575.98
 Total Liabilities                                            $                       2,407,382.00
 Equity
   3000 Common Stock                                                                      1,000.00
   3001 Paid-ln Capital or Surplus                                                      175,921.49
   Opening Balance Equity                                                             -2,214,467.00
   Owner's Pay & Personal Expenses                                                        -1 ,943.64
   Retained Earnings                                                                   -221,146.53
   Net Income                                                                           164,021.84
  Total Equity                                                -$                      2,096,613.84
TOTAL LIABILITIES AND EQUITY                                  $                         310,768.16




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      Case 20-30208                Doc 25    Filed 03/14/20 Entered 03/14/20 12:10:22   Desc Main
                                              Document     Page 6 of 16


                         Ramsey-Peele Corporation
                             Profit and Loss
                 For the Year to Date Period Ending December 31,2019

                                                            Total
Income
 Food Services                                   $                      237.442.29
 Grants                                                                1,771,440.02
 NC Pre-K                                                               215,639.16
 Tuition                                                               2,505,401.24
Total Income                                     $                     4,729,922.71


Total Cost of Services Provided                  $                      493,759.07
Gross Profit                                     $                     4,236,163.64
Expenses
 Insurance                                       $                      165.345.56
 Salaries and Wages                                                    2,574,054.19
 Contractors                                                                 790.90
 Payroll Taxes                                                           194,526.69
 401 K Employer Match                                                     18,107.51
  Other Payroll Expenses                                                  15,713.68
  Bank Charges & Fees                                                      6,739.82
  Car & Truck                                                             90,978.35
  Dues & subscriptions                                                     3,441 .29
  Employee Benefits                                                        1,125.00
  Employee Training                                                        4,488.41
  Leg.al & Professional Services                                         129,747.64
  Meals & Entertainment                                                    4,452.35
  Office Supplies & Software                                              18,819.70
  Other Business Expenses                                                 32,902.75
  Purchases                                                                  632.26
  Rent & Lease                                                           539,179.70
  Repairs & Maintenance                                                  142,989.45
  Shipping and Postage                                                       788.22
  Storage                                                                  8,493.30
  Supplies & Materials                                                    19,379.28
  Total Travel                                                               949.56
  Total Utilities                                                         87,583.88
Total Expenses                                    $                    4,061,229.49
Net Operating Inc. before Int. Taxes, & Depre.    $                      174,934.15
  Depreciation                                                                 0.00
  Interest Paid­                                                           7,142.87­
  Taxes & Licenses                                                         3,769.44
Net Income                                        $                      164,021.84
          Case 20-30208             Doc 25      Filed 03/14/20 Entered 03/14/20 12:10:22      Desc Main
                                                 Document     Page 7 of 16


                                      Ramsey-Peele Corporation
                                       Statement of Cash Flows
                           For the Year to Date Period Ending December 31,2019

                                                                                          Total
OPERATING ACTIVITIES
 Net Income                                                                                164,021.84
 Adjustments to reconcile Net Income to Net Cash provided by operations:
   1265 Due to/(from} Affiliates                                                           -37,126.34
   Accounts           (AlP)                                                               -157,854.47
   FC Line Of Credit (OOSS)                                                                   -305.10
   HC Line Of Credit (0062)                                                                  1,143.09
   NC Line Of Credit (0054)                                                                   255.37
   UCDC line Of Credit (0039)                                                                1,376.86
   UEP Line Of Credit. (0047)                                                                 801.28
   2152 Due-to/(from)-C.          Kennedy                                                         0.00
   Other Current liabilities                                                                85,527.48
 Total Adjustments to reconcile Net Income to Net Cash provided      operations:     -$ 106,181.83
Net cash provided by operating activities                                            $      57,840.01
INVESTING ACTIVITIES
Net cash provided by investing activities                                            $            0.00
FINANCING ACTIVITIES
 2130 Notes Payable· Daimler Truck                                                         -20,723.09
 2132 Notes Pa),!able- Nissan Motor                                                               0.00
 Notes Payable                                                                              97,514.97
 Notes Payable - C.Ray & Cynthia Kennedy                                                    22,683.99
 Notes Payable· Cynthia Kennedy                                                             -6,007.32
  Note&- Payable - Kim Griffith                                                            -16,124.97
  Notes          • Lending Club                                                           -131,556.96
Net cash provided by financing activities                                            -$     54,213.38
Net cash increase for period                                                          $      3,626.63
Cash at beginning of periott                                                               146,269-.46




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      Case 20-30208      Doc 25   Filed 03/14/20 Entered 03/14/20 12:10:22   Desc Main
                                   Document     Page 8 of 16


                     Ramsey-Peele Corporation
                 Statement of Stockholder's Equity
               For the Year Ending December 31,2019

                                           Additional
                             Common          Paid-in
                               Stock         Capital        Earnings
Balance, December 31, 2018   $ 1,000.00   $ 175,921.49   $ (2,435,613.33)

Net Income (Loss)                                            164,021.84


Balance, December    2019      1,000.00     175,921.49     (2,271,591.49)
   Case 20-30208       Doc 25     Filed 03/14/20 Entered 03/14/20 12:10:22             Desc Main
                                   Document     Page 9 of 16




      Description of Operations - Ramsey-Peele Corporation

Ramsey-Peele Corp. operates three daycare centers in the Charlotte, NC area under the name University
Child Development Center.
Case 20-30208   Doc 25   Filed 03/14/20 Entered 03/14/20 12:10:22   Desc Main
                         Document      Page 10 of 16




 TAB 2, VALUE INNOVATION TECHNOLOGIES CORP.
   Case 20-30208        Doc 25     Filed 03/14/20 Entered 03/14/20 12:10:22               Desc Main
                                   Document      Page 11 of 16




                                    Valuation Estimate
                     Value Innovation Technologies Corp.

      innovation                Corp. (VIT) is a startup company with                inconsistent
revenue, and significant losses to date. The company has negative equity, suggesting a valuation of $0.
VIT        a                     earnings balance. This          a                flow valuation of $0.
           Case 20-30208               Doc 25      Filed 03/14/20 Entered 03/14/20 12:10:22      Desc Main
                                                   Document      Page 12 of 16


                      Value Innovation Technologies
                              Balance Sheet
                                 As of December 31,2019

                                                                         Total
ASSETS
 Current Assets
  Bank Accounts
     1011 Operating Checking (4790)                                                  -447.31
     1100 Payroll Checking (5549)                                                    1,520.70
   Total Bank Accounts                                    $                         1,073.39
   Accounts Receivable
     1200 Accounts Receivable (AIR)                                               250,000.00
   Total Accounts Receivable                               $                      250,000.00
 Total Current Assets                                      $                      251,073.39
 Fixed Assets
   1625 eLink Software                                                           2,411,054.10
   1702 Accumulated Depreciation                                                  -634,052.00
 Total Fixed Assets                                        $                     1,777,002.10
TOTAL ASSETS                                               $                     2,028,075.49
LIABILITIES AND EQUITY
 Liabilities
   Current Liabilities
     Accounts Payable
       2000 Accounts Payable (AlP)                                                  36,382.25
     Total Accounts Payable                                $                        36,382.25
     Other Current Liabilities
       2010 Unearned Income                                                        250,000.00
       Loan Payable                                                                260,000.00
     Total Other Current LIabilities                       $                       510,000.00
   Total Current Liabilities                               $                       546,382.25
   Long-Term Liabilities
     2110 Note Payable - R. Annable                                                338,684.93
     2120 Note Payable - C. McKee                                                   34,371 .14
     2130 Note Payable - Decathlon                                               2,405.030.90
     2152 Note Payable - Mr. Kennedy                                               246,352.52
     2155 Note Payable - Related Parties                                            22,155.51
   Total Long-Term LIabilities                             $                     3,046,595.00
  Total LIabilities                                        $                     3,592,977.25
  Equity
   3000 Common Stock                                                               650.000.00
    3550 Paid-In Capital                                                            19,600.00
    Opening Balance Equity                                                       -2,753,186.00
    Retained Earnings                                                            2,012,079.50
    Net Income                                                                   -1,493,395.26
  Total Equity                                             -$                    1,564,901.76
TOTAL LIABILITIES AND EQUITY                                  $                  2,028,075.49




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           Case 20-30208              Doc 25           Filed 03/14/20 Entered 03/14/20 12:10:22   Desc Main
                                                       Document      Page 13 of 16


         Value Innovation Technologies
                 Profit and Loss
                    January· December 2019

Income
 4028 Gateway Subscription                               32,249.25
 Billable Expense Income
Total Income                                     $       37,249.25
Cost of Goods Sold
 5000 eLlnk Software Costs                                81,355.36
Total Cost of Goods Sold                         $       81,355.36
Gross Profit                                     .$      44,106.11
Expenses
 6300 Insurance                                          -10,937.29
   6302 Life                                               3,465.12
   6303 General Liability                                  2,765.66
   6304 Medical                                           38,988.00
   6306 Dental & Vision                                    3,828.36
 Total 6300 Insurance                            $        38,109.85
 6700 Salaries and wages                                 208,650.75
 6710 Contractors                                         33,920.00
  6730 Payroll Taxes                                             0.00
   6731 Social Security Withholding                       12,407.68
   6732 Medicare Withholding                               2,901.83
   6733 Federal Unemployment                                 126.00
   6734 State Unemployment                                 2,045.76
  Total 6730 Payroll Taxes                       $        17,481.27
  AdvertiSing & Marke1ing                                 16,265.36
  Bank Charges & Fees                                      2,871.00
  Dues & Subscriptions                                       795.00
  Interest Paid                                          850,606.06
  Legal & Professional Services                           42,134.51
  Office Supplies & Software                               4,661.64
  Other Business Expenses                                 25,526.59
  Rent & Lease                                            40,450.56
  Taxes & Licenses                                              748.75
  Travel                                                        573.29
    Lodging                                                     518.18
    Travel Meals                                                331.13
  Total Travel                                    $        1,422.60
  Utilities                                                       0.00
    Telephone                                              7,132.21
  Total Utilities                                 $
Total Expensss                                    $
Net Operating Income                              .$    1,334,882.26
Other Expenses
  DepreCiation                                           158,513.00
Total Other Expenses                              $      158,513.00
Net Other Income                                  -$
Net Income                                        -$    1,493,395.26




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        Case 20-30208               Doc 25     Filed 03/14/20 Entered 03/14/20 12:10:22   Desc Main
                                               Document      Page 14 of 16


                                            Value Innovation Technologies
                                               Statement of Cash Flows
                                             For the Year Ended December 31,2019

                                                                                          Total
OPERATING ACTIVITIES
 Net Income                                                                                       -1.493.395. 6
 Adjustments to reconcile Net Income to Net Cash provided by operations:
   1200 Accounts Receivable (AIR)                                                                  -250,000. pO
   1874 Prepaid Expense                                                                              12,646. 7
   1702 Accumulated Depreciation                                                                    158.513. 0
   2000 Accounts Payable (AlP)                                                                        -5.809. 5
   2010 Unearned Income                                                                             217.750. 5
   Loan Payable                                                                                     260,000. 0
 Total Adjustments to reconcile Net Income to Net Cash provided by operations:     $                393,100. 7
Net cash provided by operating activities                                          -$              1,100,294.   ~

FINANCING ACTIVITIES
 2120 Note Payable - C. McKee                                                                        -32.325. 8
 2130 Note Payable - Decathlon                                                                      337,800. 2
 2152 Note Payable - Mr. Kennedy                                                                       5,000. 0
 2165 Note Payable - Related Parties                                                                  33,597.( 2
 3000 Common Stock                                                                                  650,000.( 0
 3600 Redeemable Preferred Stock                                                                    -300,000. 0
Net cash provided by financing activities                                          $                694,072. 6
Net cash increase for period                                                       -$                406,222.~3

Cash at beginning of period                                                                          407,295. 2
Cash at end of period                                                              $                   1,073. 9
      Case 20-30208      Doc 25     Filed 03/14/20 Entered 03/14/20 12:10:22        Desc Main
                                    Document      Page 15 of 16


                          Value Innovation Technology
                       Statement of Stockholder's Equity
                     For the Year Ending December 31,2019

                                                          Additional
                                 Common    Preferred       Paid-in      Retained
                                  Stock      Stock         Capital       Earnings
Balance, December 31,2018    $            $ 300,000.00 $ 19,600.00 $ (741,106.50)

Net Income (Loss)                                                      (l,149,066.21)
Stock Conversion             650,000.00    (300,000.00)

Balance, December 31, 2019   650,000.00                    19,600.00   (1,890,172.71)




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 Case 20-30208         Doc 25      Filed 03/14/20 Entered 03/14/20 12:10:22               Desc Main
                                   Document      Page 16 of 16




                               Description of Operations
                      Value Innovation Technologies Corp.

Value Innovation Technologies Corp. (VIT) is a software as a ,pn/lC'P company that builds electronic
shopping catalogs for business clients.
